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    Law Office of Thomas R. Kayes, LLC, 2045 W Grand Ave, Ste B,
    PMB 62448, Chicago, IL 60612, tel: 708.722.2241
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              -XU\'HPDQG&KHFNWKHDSSURSULDWHER[WRLQGLFDWHZKHWKHURUQRWDMXU\LVEHLQJGHPDQGHG
        9,,,5HODWHG&DVHV7KLVVHFWLRQRIWKH-6&$1'LVXVHGWRLGHQWLI\UHODWHGSHQGLQJFDVHVLIDQ\,IWKHUHDUHUHODWHGSHQGLQJFDVHVLQVHUWWKHGRFNHW
              QXPEHUVDQGWKHFRUUHVSRQGLQJMXGJHQDPHVIRUVXFKFDVHV
        ,;'LYLVLRQDO$VVLJQPHQW,IWKH1DWXUHRI6XLWLVXQGHU3URSHUW\5LJKWVRU3ULVRQHU3HWLWLRQVRUWKHPDWWHULVD6HFXULWLHV&ODVV$FWLRQOHDYHWKLV
               VHFWLRQEODQN)RUDOORWKHUFDVHVLGHQWLI\WKHGLYLVLRQDOYHQXHDFFRUGLQJWR&LYLO/RFDO5XOH³WKHFRXQW\LQZKLFKDVXEVWDQWLDOSDUWRIWKH
               HYHQWVRURPLVVLRQVZKLFKJLYHULVHWRWKHFODLPRFFXUUHGRULQZKLFKDVXEVWDQWLDOSDUWRIWKHSURSHUW\WKDWLVWKHVXEMHFWRIWKHDFWLRQLVVLWXDWHG´
        'DWHDQG$WWRUQH\6LJQDWXUH'DWHDQGVLJQWKHFLYLOFRYHUVKHHW
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